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                      UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                        CRIMINAL ACTION


v.                                                              NO. 20-55


JASON WILLIAMS AND NICOLE BURDETT                               SECTION “F”



                                     ORDER


      Before the Court is the United States of America’s motion

requesting jury questionnaire and requested conduct of voir dire,

which is noticed for submission on November 24, 2021.                 Having been

advised by counsel for the defendants that the motion is unopposed,

the motion shall be GRANTED.


      On   October   13,   2021,    the       Court   granted   the   defendants’

unopposed request to issue, pretrial, a juror questionnaire.                  See

Order dtd. 10/13/21.       And, the three-step voir dire process, which

the government outlines and requests this Court employ on the

morning of trial, is the standard process utilized by the Court.

Accordingly, having been advised by counsel for the defendants

that the government’s motion is unopposed, IT IS ORDERED: that the

motion is hereby GRANTED.          IT IS FURTHER ORDERED: that the Clerk




                                          1
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of Court shall attach as Exhibit A to this Order the revised

proposed Juror Questionnaire. 1


                       New Orleans, Louisiana, October 19, 2021


                                  ______________________________
                                       MARTIN L. C. FELDMAN
                                   UNITED STATES DISTRICT JUDGE




1 The government requested the addition of two questions to the
juror questionnaire previously approved by the Court.        The
defendants do not object to the addition of these questions.
                                    2
